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 6                       IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
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 9   Nicholas Alozie,                               NO. CV-16-03944-PHX-ROS
10                 Plaintiff,                      JUDGMENT ON ATTORNEY FEES
11   v.
12   Arizona Board of Regents, et al.,
13                 Defendants.
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15          Decision by Court. This action came for consideration before the Court. The
16   issues have been considered and a decision has been rendered.
17          IT IS ORDERED AND ADJUDGED that pursuant to the Court’s Order filed
18   November 30, 2021, judgment is entered in favor of Plaintiff and against Defendant
19   Arizona Board of Regents in the amount of $ 113,161.35.
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                                              Debra D. Lucas
22                                            District Court Executive/Clerk of Court
23
     November 30, 2021
24                                            s/ S. Strong
                                         By   Deputy Clerk
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